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                                                                          UNITED STATES DISTRICT COURT
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                                                                        NORTHERN DISTRICT OF CALIFORNIA
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                                       ELON MUSK, ET AL.,                                   Case No.: 4:24-CV-4722-YGR
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                                                                                            ORDER RE: HEARING ON MOTION FOR A
                                  10               Plaintiffs,                              PRELIMINARY INJUNCTION
                                  11          v.
                                                                                            Re: Dkt. Nos. 72, 81, 90, 92.
Northern District of California




                                  12
 United States District Court




                                       OPEN AI, INC., ET AL.,
                                  13                Defendants.
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                                              Earlier today, the parties filed a joint stipulation requesting a continuance on the hearing on
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                                       the motion for a preliminary injunction due to the impacts of the devastating fires in Southern
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                                       California and the Court sent a courtesy email confirming its intent to grant the request.
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                                              In light of the continuance, the Court addresses several motions pertaining to briefing ahead
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                                       of the rescheduled hearing to ensure briefing is complete. The Court rules as follows:
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                                                    •   The motion for leave to file an amicus brief filed by Encode Justice is GRANTED.
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                                                    •   Plaintiffs’ motion to file a response to the amicus brief of the Attorney General of
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                                                        Delaware is GRANTED and deemed filed.
                                  23
                                                    •   Plaintiffs’ motion to file a response to defendants’ objections to plaintiffs’ reply
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                                                        brief is GRANTED and deemed filed.
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                                                    •   Parties wishing to file a response to the Statement of Interest filed by the United
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                                                        States and the Federal Trade Commission (Dkt. No. 87) must do so no later than
                                  27
                                                        January 20, 2025. Responses shall be no longer than 5 pages in length.
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                                  1              •   The hearing on plaintiffs’ motion for a preliminary injunction is hereby CONTINUED
                                  2                  to Tuesday, February 4, 2025 at 10:00 am. The hearing shall be in person however
                                  3                  audio access shall be provided over the Zoom platform.
                                  4           This terminates Dkt. Nos. 72, 81, 90, 92.
                                  5           IT IS SO ORDERED.
                                  6    Date: January 13, 2025                         _______________________________________
                                                                                              YVONNE GONZALEZ ROGERS
                                  7                                                      UNITED STATES DISTRICT COURT JUDGE
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Northern District of California
 United States District Court




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